Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 1 of 54

Exhibit 7

U.S. District Court of Western District of Texas, Austin Division Vicki
McLean, ET AL EX REL USA VS State of Texas, Secretary of State Elections
Division, ET AL A18-CV1021RP filed June 25, 2019 Motion to leave to file
motion to vacate order and judgement filed June 18, 2019 due to forgery
Case 1:19-cv-03312-CKK Document 1-8: Filed 11/04/19 Page 2 of 54

UNITED STATES DISTRICT COURT

OF THE WESTERN DISTRICT OF TEXAS g,¢< +

VICKI FANNING MCLEAN
ESTATE OF JAMES T. MCLEAN, JR.
ESTATE OF LOUIS A. FANNING, SR.

EX REL UNITED STATES
AMERICA

PLAINTIFFS
1952

VS
STATE OF TEXAS SECRETARY OF
STATE ELECTIONS DIVISION

UNITED STATES CONGRESS
1913 TO PRESENT

DEMOCRATIC NATIONAL
COMMITTEE

STATE OF TEXAS LEGISLATURE

STATE OF TEXAS DEPARTMENT
OF PUBLIC SAFETY

STATE OF TEXAS EDUCATION

STATE OF TEXAS DEPARTMENT OF
HEALTH AND HUMAN SERVICES

BY
. tory eRe

CIVIL ACTION: A18-1021-RP |
Judge Robert Pitman
PATRIOT ACT OF 2001

ALIEN REGISTRATIN ACT
OF 1940

MCCARREN-WALTERS ACT OF
IMMIGRATION &

NATURALIZATION
ACT OF 1924

-RACKTEER INFLUENCED &

CORRUPT ORGANIZATIONS ACT
OF 1970

BANK SECRECY ACT OF 1970
CIVIL RIGHTS ACT OF 1964
ILLEGAL IMMIGRATION
REFORM & IMMIGRANT
RESPONSIBILITY ACT

OF 1996

ESPIONAGE ACT OF 1917
INTERNATIONAL TRAFFIC IN

ARMS REGULATION ACT OF
1976
Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 3 of 54

GOVERNOR, OF TEXAS
GREGG ABBOTT

RICK PERRY, FORMER GOVERNOR OF
TEXAS

BOBBY JINDEL, FORMER GOVERNOR
OF LOUISIANA

GEORGE BUSH, JR., FORMER GOVERNOR
OF TEXAS

SUSANA MARTINEZ, GOVERNOR OF
NEW MEXICO

ARNOLD SCHWARZENEGGER, FORMER
GOVERNOR OF CALIFORNIA

STATE OF LOUISIANA SECRETARY OF
STATE ELECTIONS DIVISION

STATE OF CALIFORNIA SECRETARY OF
STATE ELECTIONS DIVISION

STATE OF FLORIDA SECRETARY OF
STATE ELECTIONS DIVISION

STATE OF NEW YORK SECRETARY OF
STATE ELECTIONS DIVISION

STATE OF ARIZONA SECRETARY OF
STATE ELECTIONS DIVISION

STATE OF NEW MEXICO SECRETARY OF
STATE ELECTIONS DIVISION

STATE OF VIRGINIA SECRETARY OF
STATE ELECTIONS DIVISION
Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 4 of 54

STATE OF MARYLAND SECRETARY OF
STATE ELECTIONS DIVISION

U.S. REPRESENTATIVE NANCY PELOSI
U.S. REPRESENTATIVE PAUL RYAN

U.S. SENATOR MITCH MCCONNELL
U.S. SENATOR CHUCK SCHUMER
U.S. SENATOR DIANE FEINSTEIN

ELAINE CHAO, U.S. SECRETARY OF
TRANSPORTATION

ALEXANDER ACOSTA,
U.S. SECRETARY OF LABOR

NIKKI HALEY, U.S. AMBASSADOR TO THE
UNITED NATIONS

BARACK OBAMA, FORMER U.S. PRESIDENT
DEMOCRAT CAMPAIGN SPOKESMAN

HOUSTON MAYOR SYLVESTOR TURNER

TEXAS U.S. REPRESENTATIVE
LESLIE FLETCHER

TEXAS U.S. REPRESENTATIVE
BETO O’ROURKE

LUPE VALDEZ DEMOCRATIC CANDIDATE,
FORMER DALLAS SHERIFF & DHS AGENT

HARRIS COUNTY JUDGE LINA HIDALGO

HARRIS COUNTY SHERRIF
EDWARD GONZALES
Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 5 of 54

HOUSTON POLICE CHIEF ART ACEVEDO
TEXAS U.S. REPRESENTATIVE

SHELIA JACKSON LEE

TEXAS U.S. REPRESNTATIVE AL GREENE

TEXAS U.S. REPRESENTATIVE
VINCENTE GONZALEZ

TEXAS U.S. REPRESENTATIVE
VERONICA ESCOBAR

TEXAS U.S. REPRESENTATIVE
JOAQUIN CASTRO

TEXAS U.S. REPRESENTATIVE
SLYVIA GARCIA

TEXAS U.S. REPRESENTATIVE
HENRY CUELLAR

TEXAS U.S. REPRESENTATIVE
FILEMON VELA

MINNESOTA U.S. REPRESENTATIVE
ILHAN OMAR

NEW YORK U.S. REPRESENTATIVE
ALEXANDRIA OCASIO-CORTEZ

MICHIGAN U.S. REPRESENTATIVE
RASHIDA TLAIB

TEXAS REPRESENTATIVE
GINA ORTIZ JONES

TEXAS U.S. REPRESENTATIVE SRI
PRESTON KULKARNI
Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 6 of 54

XAVIER BECERRA, FORMER
CALIFORNIA U.S. REPRESENTATIVE CURRENT
ATTORNEY GENERAL OF CALIFORNIA

MONTGOMERY COUNTY, TEXAS
DISTRICT ATTORNEY BRETT LIGON

HARRIS COUNTY, TEXAS DISTRICT
ATTORNEY KIM OGG

DEFENDANTS

MOTION TO LEAVE TO FILE MOTION TO VACATE
6/18/2019 ORDER AND JUDGEMENT DUE TO FORGERY

Respectfully submitted, CERTIFICATE OF SERVICE
Pro Se June 25, 2019 DAY OF JUNE 2019
MU Ad. USPS 70180680000102684953
Vicki Fanning McLean, Pro SE Signature

7203 Oakwood Glen Blvd Apt. 804
Spring, Texas 77379
832-610-1059
Vickimclean54@yahoo.com
Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 7 of 54

Case No: 1:18cv1021 - Filed: 06/18/19
Doc. #2°

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS

AUSTIN DIVISION
VICKI FANNING MCLEAN, et al., §
Plaintiffs,
v. 1:18-CV-1021-RP
STATE OF TEXAS SECRETARY OF ;
STATE ELECTIONS DIVISION, et al., §
Defendants.

ORDER >

Plaintiff Vicki Fanning Mclean (“McLean”) filed her complaint in this case on November
29, 2018. (Dkt. 1), To date, she has taken no subsequent action in this litigation.

McLean is not a prisoner and she is not proceeding in forma panperis. The screening
provisions of 28 U.S.C. §§ 1915 and 1915A therefore do ‘not apply. Nevertheless, district courts have
the inherent authority to screen’a pleading for.frivolousness and may. dismiss sua sponte claims. that -
are “totally implausible, attenuated, unsubstantia, frivolous, devoid of merit, or no longer open to
discussion” because such claims lack “the “legal plausibility necessary to invoke federal subject .
matter jutisdiction.” Apple v. Glenn, 183 F.3d 477, 479-80 (6th Cir. 1999) (per curiam) (citing Hagans
v, Lavine, 415 US. 528, 536-37 (1974); Délworth ». Dallas Cty. Cuty. Coll. Dist., 81 F.3d 616, 617 (5th
Cir. 1996)). This inherent power applies even with respect to complaints in which the plaintiff is not
a prisoner and has'paid a fling fee. Black v. Hornsby, No. 5:14-CV-0822, 2014 WL 2535168, at *3
(W.D. La. May 15, 2014), subsequently aff'd sub nom. Black v. Hathaway, 616 F. App’x 650 (5th Cir.
2015).

Having teviewed McLean’s 59-page complaint (and over 400 pages of exhibits), the Court
finds that it is fantastical and ‘cornpletely frivolous. The list of defendants McLean names.spans. five
pages and includes currént and former elected representatives of several states. (Dkt. 1, at 1-5). She

1
Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 8 of 54

purpotts to bring claims against them under ten federal statutes. (Id. at 1). Her claims appear to flow
from her allegations that the named defendants have not “address[ed] the invasion of the States by
illegal and legal immigrants falsely documented who have stolen social security numbers, stolen U.S.
jobs, and stolen U.S. benefits who continually assembly [sic] together to intimidate the U.S. Citizens
and protest against Federal, State, and local governments.” (Id at 55-56). A small sample of her
further allegations are that “immigrants” are engaged in “underground espionage activities”;
“immigrant professors” participate in an “illegal University and College mind control system| ] in
violation of the International In Traffic In Arms Regulation and the Patriot Act”; “legal and illegal
immigrants” disturb a right to “domestic tranquility” by participating in “subversive activities in the
major cities”; immigrants that seek asylum are “stealing U.S. benefits not allowed under the U.S.
Constitution”; and “millions of immigrants illegally and legally living inside the U.S. major cities
ha[ve] assembled together to intimidate the U.S. Citizens with committing daily terrorist acts.” (Id. at
56-57). With respect to this last allegation, McClean claims that defendants have failed to
appropriately respond by “refus[ing] to send out the militia, close the U.S.-Mexico border, sanction
Mexico, Honduras, Guatemala, etc. with the intent to declare war if necessary and remove all
Mexican Citizens, Honduran Citizens, Guatemalan Citizens, India Citizens, etc.” (Id at 57). McLean
also states that her arguments are not based on any “court precedence” “[d]ue to forgery and
coercion over the courts for the last 70+ years.” (Jd. at 23)..
Because the Court finds that all of McLean’s claims are totally frivolous, the Court will

invoke its inherent authority to dismiss this action with prejudice. As stated by the Fifth Circuit:

Federal courts are proper forums for the resolution of serious and

substantial federal claims. They are frequently the last, and sometimes

the only, resort for those who ate oppressed by the denial of the

rights given them by the Constitution and laws of the United States.

Fulfilling this mission and the other jurisdiction conferred by acts of

Congtess has imposed on the federal courts a work load that taxes

their capacity. Each litigant who improperly seeks federal judicial

relief for a petty claim forces other litigants with more serious claims

2
Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 9 of 54

to await a day in court. When litigants improperly invoke the aid of a
' federal court to redress what is patently a trifling claim, the district

court should not attempt to ascettain who was tight or who was

wrong in provoking the quarrel but should dispatch the matter

quickly.
Dilworth, 81 F.3d at 617 (quoting Raymon ». Alvord Indep. Sch. Dist., 639 F.2d 257, 257 (5th Cir. 1981)).
This reasoning is applicable in cases such as this one.

Accordingly, for the reasons given above, the Court ORDERS that Mclean’s complaint is

DISMISSED WITH PREJUDICE as frivolous.

SIGNED on June 18, 2019.

ROBERT PITMAN
UNITED STATES DISTRICT JUDGE
Case No: 1:18e99924 19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 10 of 5iled: 06/18/19
Doc. #3

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS

AUSTIN DIVISION
VICKI FANNING MCLEAN, et al., §
Plaintiffs, ;
vy. : 1:18-CV-1021-RP
STATE OF TEXAS SECRETARY OF ;
STATE ELECTIONS DIVISION, et al., §
Defendants.

FINAL JUDGMENT

On this date, the court issued an order dismissing all of Plaintiffs claims with prejudice. As
nothing remains to resolve, the court renders Final Judgment pursuant to Federal Rule of Civil
Procedure 58.

IT IS ORDERED that the case is CLOSED.

SIGNED on June 18, 2019.

ROBERT PITMAN
UNITED STATES DISTRICT JUDGE

Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 11 of 54

UNITED STAES DISTRICT COURT
/ OF WESTERN DISTRICT OF TEXAS

VICKI MCLEAN, ETAL, EX REL USA CIVIL ACTION
PLAINTIFFS NO. A18-1021

) ROBERT PITMAN
VERSUS

STATE OF TEXAS SECRETARY OF
STATE ELECTIONS DIVISION, ET AL

ORDER

Considering the Motion for Leave to file Motion to Vacate Order and Judgement
filed 6/18/2019 due to forgery

IT IS ORDERED that the Motion is Granted
Austin, Texas , this Day of , 20

U.S. DISTRICT JUDGE/MAGISTRATE JUDGE
Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 12 of 54

UNITED STATES DISTRICT COURT

OF THE WESTERN DISTRICT OF TEXAS

VICKI FANNING MCLEAN

ESTATE OF JAMES T.. MCLEAN, JR.

ESTATE OF LOUIS A. FANNING, SR.

_ EX REL UNITED STATES
AMERICA

PLAINTIFFS

VS

STATE OF TEXAS SECRETARY OF
STATE ELECTIONS DIVISION

UNITED STATES CONGRESS
1913 TO PRESENT

DEMOCRATIC NATIONAL
COMMITTEE

STATE OF TEXAS LEGISLATURE

STATE OF TEXAS DEPARTMENT
OF PUBLIC SAFETY

STATE OF TEXAS EDUCATION

STATE OF TEXAS DEPARTMENT OF

HEALTH AND HUMAN SERVICES

CIVIL ACTION: A18-1021-RP
JUDGE ROBERT PITMAN
PATRIOT ACT OF 2001

ALIEN REGISTRATIN ACT
OF 1940

MCCARREN-WALTERS ACT OF
1952

IMMIGRATION &
NATURALIZATION ACT OF 1924

RACKTEER INFLUENCED &
CORRUPT ORGANIZATIONS ACT
OF 1970

BANK SECRECY ACT OF 1970

CIVIL RIGHTS ACT OF 1964

ILLEGAL IMMIGRATION
REFORM & IMMIGRANT
RESPONSIBILITY ACT
OF 1996

ESPIONAGE ACT OF 1917
INTERNATIONAL TRAFFIC IN

ARMS REGULATION ACT OF
1976
Case 1:19-cv-03312-CKK Document1-8 Filed 11/04/19 Page 13 of 54

GOVERNOR, OF TEXAS
GREGG ABBOTT

RICK PERRY, FORMER GOVERNOR OF
TEXAS

BOBBY JINDEL, FORMER GOVERNOR
OF LOUISIANA !

GEORGE BUSH, JR., FORMER GOVERNOR
OF TEXAS

SUSANA MARTINEZ, GOVERNOR OF
NEW MEXICO

ARNOLD SCHWARZENEGGER, FORMER
GOVERNOR OF CALIFORNIA

STATE OF LOUISIANA SECRETARY OF
STATE ELECTIONS DIVISION

STATE OF CALIFORNIA SECRETARY OF
STATE ELECTIONS DIVISION

STATE OF FLORIDA SECRETARY OF
STATE ELECTIONS DIVISION

STATE OF NEW YORK SECRETARY OF
STATE ELECTIONS DIVISION

STATE OF ARIZONA SECRETARY OF
STATE ELECTIONS DIVISION

STATE OF NEW MEXICO SECRETARY OF
STATE ELECTIONS DIVISION

STATE OF VIRGINIA SECRETARY OF
STATE ELECTIONS DIVISION
Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 14 of 54

STATE OF MARYLAND SECRETARY OF
STATE ELECTIONS DIVISION

U.S. REPRESENTATIVE NANCY PELOSI
U.S. REPRESENTATIVE PAUL RYAN

U.S. SENATOR MITCH MCCONNELL
U.S. SENATOR CHUCK SCHUMER
U.S. SENATOR DIANE FEINSTEIN

ELAINE CHAO, U.S. SECRETARY OF
TRANSPORTATION

ALEXANDER ACOSTA,
U.S. SECRETARY OF LABOR

NIKKI HALEY, U.S. AMBASSADOR TO THE
UNITED NATIONS

BARACK OBAMA, FORMER U.S. PRESIDENT
DEMOCRAT CAMPAIGN SPOKESMAN

HOUSTON MAYOR SYLVESTOR TURNER

TEXAS U.S. REPRESENTATIVE
LESLIE FLETCHER —

TEXAS U.S. REPRESENTATIVE
BETO O’ROURKE

LUPE VALDEZ DEMOCRATIC CANDIDATE,
FORMER DALLAS SHERIFF & DHS AGENT

HARRIS COUNTY JUDGE LINA HIDALGO

HARRIS COUNTY SHERRIF
EDWARD GONZALES
Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 15 of 54

HOUSTON POLICE CHIEF ART ACEVEDO

TEXAS U.S. REPRESENTATIVE
SHELIA JACKSON LEE

TEXAS U.S. REPRESNTATIVE AL GREENE

TEXAS U.S. REPRESENTATIVE
VINCENTE GONZALEZ

TEXAS U.S. REPRESENTATIVE
VERONICA ESCOBAR

TEXAS U.S. REPRESENTATIVE
JOAQUIN CASTRO

TEXAS U.S. REPRESENTATIVE
SLYVIA GARCIA

TEXAS U.S. REPRESENTATIVE
HENRY CUELLAR

TEXAS U.S. REPRESENTATIVE
FILEMON VELA

MINNESOTA U.S. REPRESENTATIVE
ILHAN OMAR

NEW YORK U.S. REPRESENTATIVE
ALEXANDRIA OCASIO-CORTEZ

MICHIGAN U.S. REPRESENTATIVE
RASHIDA TLAIB

TEXAS REPRESENTATIVE
GINA ORTIZ JONES

TEXAS U.S. REPRESENTATIVE SRI
PRESTON KULKARNI
Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 16 of 54

XAVIER BECERRA, FORMER
CALIFORNIA U.S. REPRESENTATIVE CURRENT
ATTORNEY GENERAL OF CALIFORNIA

MONTGOMERY COUNTY, TEXAS
DISTRICT ATTORNEY BRETT LIGON

HARRIS COUNTY, TEXAS DISTRICT
ATTORNEY KIM OGG

DEFENDANTS

MOTION TO LEAVE TO VACATE ORDER AND JUDGEMENT FILED
6/18/2019 DUE TO FORGERY OF THE FILE RECORD AND FORGERY OF
JUDGE ROBERT PITMAN ORDER AND JUDGEMENT DENYING THE
PLAINTIFFS AND U.S. CITIZENS RIGHTS TO DUE PROCESS AND RIGHTS
TO COUNSEL REQUESTING U.S. DISTRICT CLERK TO NOTIFY FEDERAL
JUDGE ROBERT PITMAN IN PERSON OF THIS MOTION TO LEAVE TO
VACATE ORDER AND JUDGEMENT FILED 3/18/2019 DUE TO FORGERY
AND NOTIFY THE FISC CHIEF JUDGE

When examining the order and judgement for case A18-1021-RP containing Judge
Robert Pitman’s easily’ accessible digital signature by hackers, Vicki McLean
quickly identified it was a forgery and could not be an order written based on the
original paper form filing of case A18-CV-1021-RP filed on Nov. 29, 2018 in person
by Vicki McLean containing Exhibits 1 which is the original paper form filing of
FISC U.S. District Court of Eastern District of Louisiana New Orleans District Case
Vicki McLean, ET AL EX REL USA VS Federal Reserve System, ET AL 18-3462
filed with Judge Martin Feldman and Magistrate Daniel Knowles, III on April 2,
2018 under the Patriot Act. U.S. District Court of Western Texas, Austin Division
Case A18-1021-RP contains a series of federal cases filed by Vicki McLean, ET AL

5
Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 17 of 54

filed EX REL United States of American all containing the initial U.S. District Court
of Eastern District of Louisiana New Orleans District False Claim Case 07-9717
filed with Federal Judge Thomas Porteous and Magistrate Daniel Knowles. These
series of cases addressing the motives for altering all the cases and forging the
federal judges orders and assistant U.S. Attorneys motions are explained in great
detail in FISC U.S. District Court of Eastern District of Louisiana New Orleans
District Case 18-3462 filed with Judge Martin Feldman and Magistrate Daniel
Knowles, III presented as Exhibit 1 in U.S. District Court of Western District of
Texas, Austin Division A18-CV-1021-RP.

The Case records of Judge Thomas Porteous and Magistrate Daniel Knowles, [I |
Case 07-9717 was addressed as being altered and forged including the removing of
EX REL United States of America. On Feb. 22, 2008 by way of cell phone Vicki
McLean called the office of Judge Porteous and spoke with his staff the morning of
Feb. 22, 2008. Vicki McLean first explained she had filed the case Pro Se for the
U.S. Citizens because her False Claim Attorney Constance Singleton had been
stabbed six times in Houston just 3 days after Dec. 18, 2006 when she had instructed
the staff member of Attorney Constance Singleton to file the False Claim Case for
the U.S. Citizens against Select Specialty of Conroe, and Health Corporation of
America by Dec. 31, 2006. Judge Porteous’ staff instructed Vicki McLean to file a
motion to amend the filing. On the same day of the call to Judge Porteous Office on
Feb. 22, 2008 a forged order recusing Judge Porteous from case 07-9717 was filed.
Vicki McLean did file a “Motion to Amend the Filing” in paper form on Feb. 25,
2008. This “Motion to Amend” was greatly altered and mooted forging Judge Carl
Barbier’s order with a forged order of Judge Carl Barbier dismissing the case in
March 2008. Judge Carl Barbier was never allowed to also meet with plaintiff and

Pro Se filer Vicki McLean like Judge Robert Pitman. Vicki McLean never received

6
Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 18 of 54

notification and mailings from the U.S. District Court of the forged order of Judge
Thomas Porteous recusing himself from case 07-9717 or the forged order of Judge
Carl Barbier mooting the “Motion to Amend” that was altered and the forged order

dismissing the case in March 2008.

No federal judges assigned to Vicki McLean federal cases thereafter which all
included case 07-9717 were allowed to grant Vicki McLean, ET AL EX REL USA
their rights to due process and rights to counsel resulting in consistent forging of all
the case records, deleting evidence, and forging of all the U.S. Federal Judges orders
and U.S. Attorney General Office and U.S. Attorney Offices motions. U.S. District
Court of the Western District of Texas, Austin Division Al8-CV-1021-RP is no
different. U.S. District Court of the Western District of Texas, Austin Division Al 8-
CV-1021-RP case records has been greatly altered producing a totally different
paper form document that involved the deleting of evidence especially removing
Exhibit 1 FISC U.S. District Court of Eastern District of Louisiana New Orleans
District Case 18-3462 filed against the Federal Reserve System, ET AL with Judge
Martin Feldman and Magistrate Daniel Knowles, III on April 2, 2018 under the
Patriot Act and including the forged order and judgement of Judge Robert Pitman

dated June 18, 2019.

All Federal Judges under duress allow the U.S. Federal Reserve Shareholders to
continue to forge their orders and judgements feeling powerless to stop the U.S.
Federal Reserve Shareholders’ control over the U.S. Supreme Court and the entire
U.S. Judiciary Branch. The case file records and judges’ orders and judgements of
Vicki McLean, ETAL EX REL USA current active cases in the Western District of
Texas and future cases filed in the Western District of Texas will continue to involve

the altering of the file records with deleting crucial evidence, the forging of the

7
Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 19 of 54

judges’ orders and judgements, and the disallowing of any motions to be filed by the
U.S. Attorney General Office who were not allowed to actually receive their certified
return receipt USPS mailing of the cases having no knowledge of current cases filed
by Vicki McLean. These consistent actions of forging all cases filed for Vicki
McLean, ET AL EX REL USA is a denial of Vicki McLean, ET AL and the U.S.
Citizens their U.S. Constitutional rights and civil rights to due process, rights to

counsel, and rights to equal protection under the law.

U.S. District Court of Western District of Texas Case Al8-CV-1021-RP was not
allowed to be hand delivered by Vicki McLean to the U.S. Attorney Office for the
Western District of Texas headquartered in San Antonio like in New Orleans. U.S.
District Court of Western District of Texas Case A18-CV-1021-RP was mailed
certified mail return receipt on Dec. 3, 2018 under USPS tracking 7018 1830 0000
5362 6408 with return receipt tracking number 9590 9402 4321 8190 4882 60 to the
U.S. Acting Attorney General Matthew Whitaker at 950 Pennsylvania Ave, NW,
Washington, D.C. 20530. Judge Robert Pitman’s assistant Julie Goldman by email
from vickimclean54@yahoo.com was notified of the case being certified return
receipt to U.S. Acting Attorney General Matthew Whitaker and given the USPS
tracking number 9590 9402 4321 8190 4882. Oddly this was the first time after
various contacts with the USPS, Vicki McLean was not able to retrieve the actual
signed green return receipt for delivery or a copy of the signed green return receipt
from the USPS. This further gives reason to justify concluding that the U.S.
Attorney General Office has in the past and present being denied its’ authorized duty
to grant the U.S. Citizens’ their rights to counsel on Vicki McLean federal cases filed
EX REL USA. The fact that no motion has been filed by the U.S. Attorney General
Office or U.S. Attorney Office of Western District of Texas in Vicki McLean, ET
AL EX REL USA VS State of Texas Secretary of State Elections Division, ET AL

8
Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 20 of 54

to address the U.S. Citizens’ rights to counsel is further evidence the U.S. Attorney
General Office under duress is not being allowed by the Federal Reserve
Shareholders to properly represent the U.S. Citizens as plaintiffs of Vicki McLean
EX REL USA cases.

The removal of Vicki McLean’s emails to Judge Robert Pitman’s assistant reporting
Case A18-CV-1021-RP was mailed certified mail return receipt to the U.S. Attorney
General Office under USPS tracking number 9590 9402 4321 8190 4882 also further
clarifies that the U..S. Attorney General Office and Federal Judge Robert Pitman
never received the original unaltered filing with all original exhibits of case A18-
CV-1021-RP. The only source Vicki McLean could find to retrieve the USPS
tracking number for case A1 8-CV-1021-RP was on her retired Metro PCS cell phone
of number 832-610-1059 that still held text messages to USPS showing Vicki
McLean’s attempts to retrieve the stolen signed green return receipt for the delivery
of case A18-CV-1021-RP on Dec. 13, 2018 in Washington, D.C. These texts linked
to USPS 28777 began by Vicki McLean filing her complaint online at usps.com on
Dec. 14, 2018 in search of the return receipt for USPS tracking package 9590 9402
4321 8190 4882 under receipt tracking number 9590 9402 4321 8190 4882 60 and
subscribing to USPS text and tracking. The return receipt confirmations indicated
that the return receipt had been returned to Vicki McLean’s post office located at
Louetta Rd, Spring, TX. Vicki McLean tried several different ways to acquire the
return receipt from the USPS but was unable to. Case A18-1012-RP was mailed a
second time to U.S. Attorney General Office by way of Case A18-CV-5091-RP
under USPS 7010 0680 0001 0268 4946 received on June 17, 2019 and return receipt
filed as an Affidavit of Service for case A18-CV-5091-RP with a copy of the
Affidavit of Service filing being attached with this motion.
Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 21 of 54

Further indications that the entire U.S. District Court of Western District of Texas,
Austin Division and the University of Texas is under duress forced to allow the
forgeries of case records of cases A18-CV-1021-RP and A18-CV-5091-RP due to
the following events on the date of filing case A18-CV-5091-RP.

1. While Vicki McLean was inside the U.S. District Court of Western District of
Texas, Austin Division she witnessed from the window 2 helicopters flying
over the U.S. District Court of Western District of Texas, Austin Division
between 9:15 — 10:00 a.m. on June 10, 2019 while filing case A18-CV-5091-
RP reported to be assigned by random selection yet Federal Judge Robert
Pitman was assigned giving great reasons to know the hackers and forgers of
case A18-CV-1021-RP assigned case A18-CV-5091-RP to Judge Robert
Pitman. Clerk staff had reported calling Judge Pitman’s office to see how to
assign case A1l8-CV-5091-RP that took no time to be addressed by Judge
Robert Pitman making it reasonable to conclude Judge Robert Pitman did not
make the unprofessional decision to allow case A18-CV-5091 linked to case
A18-CV-1021-RP and FISC U.S. District Court of Eastern Louisiana, New
Orleans Division 18-3462 be assigned to a different judge. This further
indicates Judge Pitman’s staff did not provide Judge Pitman the original paper
filing of case A18-CV-1021. The flying of this helicopter over U.S. District
Court of Western District of Texas and the University of Texas arranged to be
seen by Vicki McLean was to threaten Vicki McLean, Judge Robert Pitman,
Pitman’s staff, U.S. District Court of Western District, Austin Division
Clerk’s Office Staff, and University of Texas.

10
Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 22 of 54

2. Vicki McLean noticed the hacking of the red lights along Cypresswood Road
from FM 290 to Stuebner Airline when she was only 15 minutes from home
causing her to arrive 10 to 15 minutes later at about 12:50 pm. Near 1 pm
Vicki McLean heard a helicopter fly over her apartment. This would be to

threaten Lone Star College in charge of the area.

3. Near the same time in Manhattan, New York it was reported at 1 p.m., Central
time that a helicopter had crashed at approximately 1:45 pm eastern time on
top of the roof of 787 Seventh Avenue, Manhattan Ave, NY to threaten New
York University Law School and Harvard Law School in Manhattan attended
by Harris County Judge Lina Hidalgo from 2015-2017 a defendant in case
A18-Cv-1021-RP who oddly as a NYU/Harvard Law Student was assigned to

work in the New Orleans Public Defenders office during law school.

Exhibit 1 — U.S. District Court of Western District of Texas, Austin District Case
Vicki McLean, ET Al EX REL USA VS State of Texas Secretary of State Elections
Division, ET AL A18-CV-1021-RP order and judgement filed June 18, 2019.

Exhibit 2— USPS tracking history for package and returned receipt of U.S. District
Court of Western District of Texas, Austin District Case A18-CV-1021-RP mailed
to U.S. Acting Attorney General Matthew Whitaker at 950 Pennsylvania Ave. NW,
Washington, D.C. with package USPS tracking number 9590 9402 4321 8190 4882
and under receipt tracking number 9590 9402 4321 8190 4882 60 delivered on
December 13, 2018.

11
Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 23 of 54

Exhibit 3 - U.S. District Court of Western District of Texas, Austin District Case
Vicki McLean, ET Al EX REL USA VS Mexico, Country of, ET AL A18-CV-5091-
RP Affidavit of Service filed June 24, 2019.

Conclusion

USS. District Court of Western District of Texas, Austin Division Case A18-CV-
1021 order and judgement dated 6/18/2018 with Judge Robert Pitman digital
signature should to be vacated due to forgery of case records of case A81-1021-RP
and due to the U.S. District Court being under duress having full knowledge of the
forged records not able to address the issues and fulfill their Oath of Office to obey
the U.S. Constitution. U.S. District Court of Western District of Texas, Austin
Division Case A18-CV-1021-RP under Judge Robert Pitman needs to be transferred
to the FISC Chief Judge and Judge Martin Feldman in New Orleans assigned Vicki
McLean, ET AL EX REL USA cases beginning on Sept. 16, 2016 under Case 16-
15001 due to previously filed cases and all subsequent cases filed in U.S. District

Court of Eastern District of Louisiana, New Orleans District having been forged

U.S. District Court of Western District of Texas, Austin Division Clerk Of Court
needs to expect all cases records filed by Vicki McLean, ET AL EX REL USA to
be altered with the judges’ future orders and judgements on case A18-CV-1012-RP
and A18-CV-5091-RP and future cases’ orders and judgements to be forged with
plans to deny Vicki McLean fron filing any future federal cases filed for the U.S.
Citizens in the U.S. District Court of the Western District of Texas, Austin District

to address all immigrants from various nations using the stolen U.S. Citizens social

12
Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 24 of 54

security numbers. All current and future cases filed for Vicki McLean ET AL EX
REL need to immediately transferred to the FISC to prevent future attacks on the
McLean Clan and Fanning Clan and to reduce the duress on the U.S. District Court

of Western District of Texas, Austin Division.

Respectfully submitted, 25 DAY OF OF SERVICE
Pro Se June 25, 2019 25 DAY OF JUNE 2019

Y/, Le fo _ “cers 701 Wiha
Vicki Fanning McLean, Pro SE La

7203 Oakwood Glen Blvd Apt. 804
Spring, Texas 77379
832-610-1059
Vickimclean54@yahoo.com

13
Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 25 of 54

UNITED STAES DISTRICT COURT
OF WESTERN DISTRICT OF TEXAS

VICKI MCLEAN, ETAL, EX REL USA CIVIL ACTION
PLAINTIFFS NO. A18-1021

ROBERT PITMAN
VERSUS

STATE OF TEXAS SECRETARY OF
STATE ELECTIONS DIVISION, ET AL

ORDER

Considering the MOTION TO LEAVE TO VACATE ORDER AND JUDGEMENT |
FILED 6/18/2019 DUE TO FORGERY OF THE FILE RECORD AND FORGERY
OF JUDGE ROBERT PITMAN ORDER AND JUDGEMENT DENYING THE
PLAINTIFFS AND U.S. CITIZENS RIGHTS TO DUE PROCESS AND RIGHTS
TO COUNSEL REQUESTING U.S. DISTRICT CLERK TO NOTIFY FEDERAL
JUDGE ROBERT PITMAN IN PERSON OF THIS MOTION TO LEAVE TO
VACATE ORDER AND JUDGEMENT FILED 3/18/2019 DUE TO FORGERY
AND NOTIFY THE FISC CHIEF JUDGE

IT IS ORDERED that the Motion is Granted
Austin, Texas, this Day of , 20

U.S. DISTRICT JUDGE/MAGISTRATE JUDGE
Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 26 of 54

Exhibit 1

U.S. District Court of Western District of Texas, Austin District Case Vicki McLean,
ET Al EX REL USA VS State of Texas Secretary of State Elections Division, ET
AL A18-CV-1021-RP order and judgement filed June 18, 2019.
_ Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 27 of 54
Case No: 1:18¢v1021 . Filed: 06/18/19
Doc. #2:

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS

. AUSTIN DIVISION
VICKI FANNING MCLEAN, et al., §
Plintif
v. : 1:18-CV-1021-RP
STATE OF TEXAS SECRETARY OF :
STATE ELECTIONS DIVISION, et al., §
Defendants. :

ORDER |

Plaintiff Vicki Fanning Mcliean (“Mclean”) filed her complaint in this case on November
29, 2018. (Dkt. '. To date, she has taken no subsequent action in this litigation.

McLean is not a prisoner and she is not proceeding ix forma pauperis. The screening
provisions of 28 U.S.C. §§ 1915 and 1915A therefore do not apply. Nevertheless, district courts have
the inherent authority to screen a pleading for frivolousness and may dismiss sxa sponte claims. that |
are “totally implausible, attenuated, unsubstaitil, frivolous, devoid of mézit, or no longer open to
discussion” because such claims lack “the “legal plausibility necessary to invoke federal subject .
matter jutisdiction.” Apple ». Glenn, 183 F.3d 477, 47980 (6th Cir. 1999) (per curiam) (citing Hagans
v. Lavine, 415 US. 528, 536-37 (1974); Dilworth ». Dallas Cty. Canty. Coll Dit, 81 F.3d 616, 617 (5th

"Cit, 196). This inhetent povier applies even with respect to-complaiints in which the plaintiff is not,
a prisoner and hes paid a filing fee: Black Hornsby, No. 5:14-CV-0822, 2014 WL. 2535168, at *3

(W.D. La. May 15, 2014), subsequently aff'd sub nom. Black v. Hathaway, 616 F. App’x 650 (Sth Cir.
2015). .

Having reviewed McLean’s 59-page comphint (and over 400 pages of exhibits), the Court
finds that it is’ fiintastical and completély frivolous. The list of defendants McLean names spans. five
pages and includes’ current and former elected representatives 'of several states. (Dkt. 1, at 1-5). She

1
Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 28 of 54

purports to bring claims against them under ten federal statutes. (Id at 1). Her claims appear to flow
from her allegations that the named defendants have not “address[ed] the invasion of the States by
illegal and legal immigrants falsely documented who have stolen social security numbers, stolen U.S.
jobs, and stolen U.S. benefits who continually assembly [sic] togethet to intimidate the U.S. Citizens
and protest against Federal, State, and local governments.” (Id at 55-56). A small sample of her
further allegations are that “immigrants” are engaged in “underground espionage activities”;
“immigrant professors” participate in an “illegal University and College mind control system[] in
vidlation of the International In Traffic In Atms Regulation and the Patriot Act”; “legal and illegal
immigrants” disturb a right to “domestic tranquility” by participating in “subversive activities in the
major cities”; immigrants that seek asylum are “stealing US. benefits not allowed under the U.S.
Constitution”; and “millions ef immigrants illegally and legally living inside the U.S. major cities -
ha[ve] assembled together to intimidate the U.S. Citizens with committing daily terrorist acts.” (Id. at
56-57). With respect to this last allegation, McClean claims that defendants have failed to
appropriately respond by “refus[ing] to send out the militia, close the U.S.-Mexico border, sanction
Mexico, Honduras, Guatemala, etc. with the intent to declare war if necessary and remove all
Mexican Citizens, Honduran Citizens, Guatemalan Citizens, India Citizens, etc.” (Id, at 57). McLean

23 €€

also states that her arguments ate not based on any “court precedence [djue to forgery and

coercion over the courts for the last 70+ years.” (Id at 23)...
Because the Court finds that all of McLean’s claims are totally ‘frivolous, the Court will
invoke its inherent authority to dismiss this action with prejudice. As stated by the Fifth Circuit:

Federal courts are proper forums for the resolution ‘of serious and
substantial federal claims. They are frequently the last,‘and sometimes.
the only, resort for those who are oppressed by the denial of the
tights given them by the Constitution and laws of the United States.

Fulfilling this mission and the other jurisdiction conferred by acts of
Congress has imposed on the federal courts a work load that taxes
their capacity. Each litigant who improperly seeks federal judicial
relief for a petty claim forces other litigants with more serious claims

2
Case 1:19-cv-03312-CKK Document1-8 Filed 11/04/19 Page 29 of 54

«

to await a day in court. When litigants improperly invoke the aid of a
federal court to redress what is patently a trifling claim, the district
court should not attempt to ascertain who was right or who was

wrong in provoking the quarrel but should dispatch the matter
quickly.

Dilworth, 81 F.3d at 617 (quoting Raymon ». Alvord Indep. Sch, Dist, 639 F.2d 257, 257 (Sth Cit, 1981).
This reasoning is applicable in cases such as this one.

Accordingly, for the reasons given above, the Court ORDERS that McLean’s complaint is
DISMISSED WITH PREJUDICE 1s frivolous,

SIGNED on June 18, 2019.

ROBERT PITMAN _
UNITED STATES DISTRICT JUDGE
Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 30 of 54

Case No: 1:18cv1021 Filed: 06/18/19
Doc. #3

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS

AUSTIN DIVISION
VICKI FANNING MCLEAN, et al, §
Plaintiffs, :
v. : 1:18-CV-1021-RP
STATE OF TEXAS SECRETARY OF :
STATE ELECTIONS DIVISION, et al., §
Defendants.

FE GME
On this date, the court issued an order dismissing all of Plaintiff's claims with prejudice. As
nothing remains to resolve, the court renders Final Judgment pursuant to Federal Rule of Civil
Procedure 58.
IT IS ORDERED that the case is CLOSED.
SIGNED on June 18, 2019.
Geet
ROBERT PITMAN
UNITED STATES DISTRICT JUDGE

Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 31 of 54

Exhibit 2

USPS tracking history for package and returned receipt of U.S. District Court of
Western District of Texas, Austin District Case A18-CV-1021-RP mailed to U.S.
Acting Attorney General Matthew Whitaker at 950 Pennsylvania Ave. NW,
Washington, D.C. with package USPS tracking number 9590 9402 4321 8190 4882
and under receipt tracking number 9590 9402 4321 8190 4882 60 delivered on
‘December 13, 2018.
Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 32 of 54

U SPS Tracking’ FAQs > (https://www.usps.com/faqs/uspstracking-fags.htm)

Track Another Package +

Tracking Number: 70181830000053626408

Expected Delivery on
THURSDAY

i
\
lb
|

13 22" | soopmo

GY Delivered

December 13, 2018 at 5:44 am

Delivered
WASHINGTON, DC 20530

Remove

yorqpee4

Tracking History

December 13, 2018, 5:44 am
Delivered

WASHINGTON, DC 20530
Your item was delivered at 5:44 am on December 13, 2018 in WASHINGTON, DC 20530.

December 12, 2018, 1:13 pm
Available for Pickup
WASHINGTON, DC 20530

Case 1:19-cv-03312-CKK Document i-8 Filed 11/04/19

December 12, 2018, 1:05 pm
Arrived at Unit
WASHINGTON, DC 20018

December 12, 2018, 9:22 am
Arrived at USPS Regional Destination Facility
WASHINGTON DC DISTRIBUTION CENTER

December 12, 2018, 5:18 am
Departed USPS Regional Facility
WASHINGTON DC DISTRIBUTION CENTER

December 12, 2018, 1:47 am
Arrived at USPS Regional Destination Facility
WASHINGTON DC DISTRIBUTION CENTER

December 11, 2018, 1:29 am
Departed USPS Regional Facility
SAN ANTONIO TX DISTRIBUTION CENTER

December 16, 2018, 3:50 pm
Arrived at USPS Regional Facility
SAN ANTONIO TX DISTRIBUTION CENTER

Page 33 of 54

December 10, 2018
In Transit to Next Facility

December 9, 2018, 1:36 am
Arrived at USPS Regional Facility
SAN ANTONIO TX DISTRIBUTION CENTER ANNEX

December 4, 2018, 3:18 am
Arrived at USPS Regional Origin Facility
NORTH HOUSTON TX DISTRIBUTION CENTER

yoeqpes 4
Case 1:19-cv-03312-CKK Document 1-8 , Filed 11/04/19 Page 34 of 54

U SPS Tr a ckin g FAQs > (https://www.usps.com/faqs/uspstracking-fags.htm)

Track Another Package +

Remove X

Tracking Number: 9590940243218190488260

The U.S. Postal Service has received electronic notification on December 3, 2018 at 3:19
pm that you have associated a return receipt to your item.

Pre-Shipment

December 3, 2018 at 3:19 pm
Return Receipt Associated

yoegqpes

Tracking History

December 3, 2018, 3:19 pm

Return Receipt Associated a, .
The U.S. Postal Service has received electronic notification on December 3, 2018 at 3:19 pm

that you have associated a return receipt to your item. —

Product Information

Postal Product: Features: See tracking for related item:
First-Class Return Receipt  70181830000053626408 (/go/T! rackConfirmAction?
Package USPS Tracking® tLabels=70181830000053626408)

Service - Retail

Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 35 of 54

Exhibit 3

U.S. District Court of Western District of Texas, Austin District Case Vicki McLean,
ET Al EX REL USA VS Mexico, Country of, ET AL A18-CV-5091-RP Affidavit
of Service filed June 24, 2019.
Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 36 of 54

Exhibit 3

US. District Court of Western District of Texas, Austin District Case Vicki McLean,
ET Al EX REL USA VS Mexico, Country of, ET AL A18-CV-5091-RP Affidavit

of Service filed June 24, 2019.
Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 37 of 54

UNITED STATES DISTRICT COURT

OF WESTERN DISTRICT OF TEXAS

VICKI FANNING MCLEAN
ESTATE OF JAMES MCLEAN
ESTATE OF LOUIS FANNING, SR
EX REL

UNITED STATES OF AMERICA

PLAINTIFFS

VS

MEXICO, COUNTRY OF
1917 TO PRESENT

PRESIDENT OF MEXICO
1917 TO PRESENT

ANDRES LOPEZ OBRADOR
PRESIDENT OF MEXICO

CARLOS SALINAS DE GORTARIA
FORMER PRESIDENT OF
MEXICO

ENRIQUE PENA NIETO
FORMER PRESIDENT OF
MEXICO I

UeY

19 esl
CIVIL ACTION: 48-CV-509T RP
JUDGE ROBERT PITMAN
PATRIOT ACT OF 2001
ESPIONAGE ACT OF 1917
ALIEN REGISTRATION ACT 1940
IMMIGRATION AND
NATURALIZATION ACT OF
1924 AND 1952
SEDITION ACT OF 1918
MCCARRAN ACT OF 1952

TRADING WITH THE ENEMY
ACT OF 1917, 1939

BANK SECRECY ACT OF 1970
RACKETEER INFLUENCED AND
CORRUPT ORGANIZATIONS
ACT OF 1970

INTERNATIONAL IN TRAFFIC
IN ARMS REGULATION OF 1976

INVENTIONS SECRECY ACT OF
1951
Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 38 of 54

CARLOS GONZALES GUTIERREZ INTERNAL SECURITY ACT OF
CONSUL GENERAL OF MEXICO — 1950
AUSTIN, TEXAS

COLUMBA GARNIC GALLO SEDITION ACT OF 1918
FORMER FIRST LADY OF

FLORIDA CIVIL RIGHTS ACT OF 1964
HILDA SOLIS, FORMER SOCIAL SECURITY ACT OF
U.S. SEC. OF LABOR 1935 & 1965 .
ALBERTO GONZALES ILLEGAL IMMIGRATION
FORMER U.S. ATTORNEY REFORM AND IMMIGRANT

GENERAL RESPONSIBILITY ACT OF 1996

XAVIER BECERRA, CALIFORNIA EMPLOYMENT RETIREMENT
ATTORNEY GENERAL FORMER INCOME SECURITY ACT OF 1974
U.S. CONGRESSMAN

ABEL MALDONADO FORMER
CALIFORNIA
LIEUTENANT GOVERNOR

FABIAN NUNEZ FORMER
CALIFORNIA ASSEMBLY
SPEAKER

SUSANA MARTINEZ FORMER
GOVERNOR OF NEW MEXICO

BRIAN SANDOVAL, FORMER
GOVERNOR OF NEVADA

LINDA CHAVEZ THOMPSON
VICE CHAIR
AFL-CIO TRADE UNION

ED GARZA MAYOR OF
SAN ANTONIO, TEXAS
Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 39 of 54

RON GONZALES
MAYOR OF SAN JOSE, CA

MAJOR LEAGUE BASEBALL ORGANIZATION
UNITED STATES SOCCER FEDERATION
NATIONAL BASKETBALL ASSOCIATION
NATIONAL FOOTBALL LE LEAGUE

ROSARIO MARIN FORMER
US TREASURER

JULIAN CASTRO FORMER
U.S. SEC OF HOUSING & URBAN DEVELOPMENT

LUPE VALDEZ FORMER
SHERIFF OF DALLAS

ART ACEVEDO
HOUSTON POLICE CHIEF

ED GONZALES HARRIS COUNTRY,
TEXAS SHERIFF

HECTOR BALDERAS, JR.
NEW MEXICO ATTORNEY GENERAL

BARACK OBAMA
FORMER U.S. PRESIDENT

SILVESTRE REYES FORMER
TEXAS U.S. CONGRESSMAN

LORETTA SANCHEZ FORMER
CALIFORNIA U.S. CONGRESSWOMAN

LINDA SANCHEZ CALIFORNIA
U.S. CONGRESSWOMAN |
Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 40 of 54

CIRO RODRIQUEZ FORMER TEXAS
U.S. CONGRESSMAN

RAUL GRIJALVA ARIZONA
U.S. CONGRESSMAN

TONY CARDENAS CALIFORNIA
U.S. CONGRESSMAN

JOAQUIN CASTRO TEXAS
U.S. CONGRESSMAN

PETE GALLEGO FORMER
TEXAS U.S. CONGRESSMAN

DARRAN SOTO FLORIDA
U.S. CONGRESSMAN

RAUL LABRADOR FORMER
IDAHO U.S. CONGRESSMAN

DAVID RIVERA FORMER
FLORIDA U.S. CONGRESSMAN

NYDIA VELAZQUEZ
CALIFORNIA U.S. CONGRESSWOMAN

NANETTE DIAZ BARRAGAN
CALIFORNIAU.S. CONGRESSWOMAN

SALUD CARBAJAL CALIFORNIA
U.S. CONGRESSMAN

RUBEN KIHUEN NEVADA
U.S. CONGRESSMAN

JIMMY GOMEZ CALIFORNIA
U.S. CONGRESSMAN
Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 41 of 54

RUBEN GALLEGO ARIZONA
U.S. CONGRESSMAN

NORMA TORRES CALIFORNIA
U.S. CONGRESSWOMAN

RAUL RUIZ CALIFORNIA
U.S. CONGRESSMAN

GILBERT CISNEROS CALIFORNIA
U.S. CONGRESSMAN

LUIS JOSE CORREA CALIFORNIA
U.S. CONGRESSMAN

JESUS GARCIA ILLINOIS
U.S. CONGRESSMAN

XOCHITI TORRES SMALL
NEW MEXICO U.S. CONGRESSWOMAN

VINCENTE GONZALEZ TEXAS
U.S. CONGRESSMAN

VERONICA ESCOBAR TEXAS
U.S. CONGRESSWOMAN

BOB MENENDEZ
NEW JERSEY U.S. SENATOR

MARCO RUBIO
FLORIDA U.S. SENATOR

KAMALA HARRIS
CALIFORNAI U.S. SENATOR

AMI BERA CALIFORNIA
U.S. CONGRESSMAN
Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 42 of 54

PRAMILA JAYAPAL WASHINGTON
U.S. CONGRESSWOMAN

ROHIT KHANNA
U.S. CONGRESSMAN

RAJA KRISHNAMOORTHI
ILLINOIS U.S. CONGRESSMAN

JENNIFER GONZALEZ-COLON
PUERTO RICO U.S. CONGRESSWOMAN

ESTEBAN EDWARD TORRES
FORMER CALIFORNIA
U.S. CONGRESSMAN

JOE BACA FORMER CALIFORNIA
U.S. CONGRESSMAN

ALBIO SIRES NEW JERSEY
U.S. CONGRESSMAN

FRANCISCO RAUL CANSECO FORMER
TEXAS U.S. CONGRESSMAN

CARLOS CURBELO FLORIDA
U.S. CONGRESSMAN

DEBBIE MUCARSEL-POWELL
FLORIDA U.S. CONGRESSWOMAN

ALEXANDRIA OCASIO-CORTEZ NEW YORK
U.S. CONGRESSWOMAN

LUIS GUTIERREZ FORMER ILLINOIS
U.S. CONGRESSMAN

RAUL LABORADOR FORMER IDAHO
U.S. CONGRESSMAN
Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 43 of 54

SYLVIA GARCIA TEXAS
U.S. CONGRESSWOMAN

SILVESTRE REYES FORMER TEXAS
U.S. CONGRESSMAN AND U.S. BORDER
PATROL AGENT

ILHAN OMAR MINNESOTA
U.S. CONGRESSWOMAN

-RASHIDA TLAIB MICHIGAN
U.S. CONGRESSWOMAN

MAZIE HIRONO HAWAII
U.S. CONGRESSWOMAN

JUSTIN AMASH MICHIGAN
U.S. CONGRESSMAN

GRACE MENG NEW YORK
U.S. CONGRESSWOMAN

YVETTE CLARK NEW YORK
U.S. CONGRESSWOMAN

CARLOS CURBELO FLORIDA
U.S. CONGRESSMAN

MARIO DIAZ-BALART FLORIDA
U.S. REPRESENTATIVE

ANDY HARRIS MARYLAND
U.S. CONGRESSMAN

TED LIEU CALIFORNIA
U.S. CONGRESSMAN

MIA LOVE FORMER UTAH
U.S. CONGRESSWOMAN
Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 44 of 54

LLEANA ROS-LEHTINEN FLORIDA
U.S. CONGRESSMAN

JUAN VARGAS CALIFORNIA
U.S. CONGRESSMAN

ANTHONY BROWN MARYLAND
U.S. CONGRSSMAN

SALVADOR MENDOZA, JR
U.S. FEDERAL JUDGE

MARINA MARMOLEJO
U.S. FEDERAL JUDGE

EVA MARTINEZ GUZMAN
TEXAS SUPREME COURT JUDGE

RUBEN CASTILLO
U.S. FEDERAL JUDGE

JESUS GILBERTO BERNEL
U.S. FEDERAL JUDGE

ALBERT DIAZ
U.S. FEDERAL JUDGE

MARY H. MURGUIA
U.S. FEDERAL JUDGE

JULIO FUENTES
U.S. FEDERAL JUDGE

SONIA SOTOMAYOR
U.S. SUPREME COURT JUSTICE

VICTOR MARRERO
U.S. FEDERAL JUDGE
Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 45 of 54

CARLOS MORENO |
FORMER U.S. FEDERAL JUDGE
U.S. AMBASSADOR TO BELIZE

DANIEL DOMINGUEZ
U.S. FEDERAL JUDGE

XAVIER RODRIGUEZ
U.S. FEDERAL JUDGE

JOSE MARTINEZ
U.S. FEDERAL JUDGE

JUAN RAMON SANCHEZ
U.S. FEDERAL JUDGE

PHILLIP GUTIERREZ
U.S. FEDERAL JUDGE

GONZALO P. CURIEL
U.S. FEDERAL JUDGE

JOHN ANTHONY MENDEZ
U.S. FEDERAL JUDGE

RUDOLPH CONTRERAS
U.S. FEDERAL JUDGE

MARY HELEN MURGUIA USS. FEDERAL
COURT OF APPEAL FEDERAL JUDGE

MARCO LOPEZ FORMER
CHIEF OF STAFF OF USS.
CUSTOMS AND BORDER PROTECTION

LINA HIDALGO TEXAS
HARRIS COUNTY JUDGE
HARVARD GRADUATE
Case 1:19-cv-03312-CKK Document 1-8, Filed 11/04/19 Page 46 of 54

I

ADRIAN GARCIA, HARRIS
COUNTY COMMISSIONER

SILVIA TREVINO HARRIS COUNTY
PRECINCT 6 CONSTABLE

TOM PEREZ FORMER ASSISTANT
ATTORNEY GENERAL FOR CIVIL RIGHTS

ALEXANDER ACOSTA U.S. SECRETARY
OF LABOR

WAN KIM FORMER ASSISTANT ATTORNEY
GENERAL FOR CIVIL RIGHTS

MARGARITA SANCHEZ FORMER LATINA
COMMISSIONER FOR THE HISPANIC
NATIONAL BAR ASSOCIATION

REGINA RODRIGUEZ FORMER ASSISTANT
U.S. ATTORNEY IN COLORADO

SOFIA ADROGUE TEXAS ATTORNEY
HARVARD GRADUATE

SEEMA VERMA U.S. ADMINISTRATOR
FOR THE CENTERS FOR MEDICARE AND
MEDICAID SERVICES

JOSE ALTUVE
VENEZALAN ASTROS PLAYER

CARLOS CORREA PUERTO
RICAN ASTROS PLAYER

ALEXANDER RODRIQUEZ
DOMINICAN FORMER
NEW YORK YANKEE PLAYER

JENNIFER LOPEZ PUERTO RICAN
KNOWN AS JLO CELEBRITY

10
Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 47 of 54

BELCALIS MARLENIS ALMANZAR
KNOWN AS CARDIB
DOMINICAN/TRINIDADA CELEBRITY

ARMANDO CHRISTIAN PEREZ
KNOWN AS PIT BULL
CUBAN CELEBRITY

ROBYN RIHANNA FENTY
BARBADIAN CELEBRITY

NICKI MINAJ
TRINADAD CELEBRITY

PETER GENE HERNANDEZ

KNOWN AS BRUNO MARS
PUERTO RICAN

DEFENDANTS

AFFIDAVIT OF SERVICE

Motion to record the certified return receipt of the delivery of Vicki McLean, ET AL
EX REL USA VS Mexico, ET AL to the U.S. Attorney General William Barr under
USPS tracking number 7018 0680 0001 0268 4946 mailed on June 11, 2019 and

indicating received on June 17, 2019.

Due to being absolutely certain that all previous USPS mailings of federal cases filed

by Vicki McLean, ET AL EX REL USA were never really delivered to the U.S.
Attorney Generals of the United States and the U.S. Attorney except for the ones
hand delivered personally to the New Orleans U.S. Attorney office in 2015 — April
of 2018 there is great certainty that U.S. Attorney General William Barr never.

11
Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 48 of 54

actually was allowed to receive U.S. District Court of Western District of Texas Case
A18-5091-RP similar to U.S. District Court of Western District of Texas Case A18-
1021 RP denying the Vicki McLean, ET AL EX REL USA and the U.S. Citizens
their rights to counsel and due process having altered the original filing indicated in
the forged order of Judge Robert Pitman dated on June 18, 2019 for case A18-1021-
RP that required Judge Pitman to address the case having been filed also for the U.S.
Citizens requiring the U.S. Attorney General to file in a motion to address the non-
acceptance of the case for the U.S. Citizens with reasoning. Due to Acting U.S.
Attorney General Matthew Whitaker and U.S. Attorney General William Barr
obviously having no knowledge of the case A18-1021-RP that includes all previous
federal cases filed by Vicki McLean for the U.S. Citizens beginning on Dec. 21,
2007 in U.S. District Court of Eastern District of Louisiana in New Orleans 07-9717
with Judge Thomas Porteous and Magistrate Daniel Knowles no motion was filed
by the U.S. Attorney General Office to accept, to dismiss, or reject the case denying
the U.S. Citizens and Vicki McLean ET AL rights to counsel and rights to due
process. It was proven in Magistrate Judge Daniel Knowles, III courtroom on
12/29/2015 in New Orleans when Vicki McLean gave testimony that Magistrate
Judge Daniel Knowles and Judge Thomas Porteous never received case 07-9717
assigned to their court filed EX REL United States of America. The Medicare and
Medicaid fraud exposed in case 07-9717 has been so massive by the Federal Reserve
Shareholders since 1998 that no federal judge would ever be allowed to grant the
U.S. Citizens their rights to due process or rights to counsel. For these reasons all of
Vicki McLean’s EX REL USA cases have been altered and forged the judges’ orders
and the assistant U.S. Attorneys motions dismissing the cases never allowing Vicki

McLean in front of the real Federal Judges assigned the case.

12
Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 49 of 54

This is why the physical and financial attacks on the McLean family and the Fanning
Clan continues in order to stop the Foreign Intelligence Surveillance Court actually
in charge of all Vicki McLean’s federal cases surely including A18-1021-RP and
A18-5091-RP to stop Vicki McLean from continuing to file cases against different
defendants under the Patriot Act, etc. to better enable the FISC to address all
individuals, governments, and entities involved in the massive theft of U.S. funds,

etc.

It is certain that all past orders and future orders dismissing cases filed by V icki
McLean, ET AL EX REL USA have been and will be forged denying Vicki McLean,
ET AL and the U.S. Citizens their rights to counsel and rights to due process. In the
Western District of Texas, Austin Division the likely universities involved in the
forgery of judges’ order and attorney’s motions would be the University of Texas,
Texas A&M and Harvard University. The University of Texas and Texas A&M
involvement in altering and forging the judge’s orders and attorney motions of Vicki
McLean federal and state cases were addressed in a federal case filing in the U.S.
District Court of Eastern Louisiana 17-5578. Vicki McLean intends to file a separate
case against Harvard University in Boston in the future to address all Harvard
University involvement in the forging of the judges’ orders of Vicki McLean’s
federal cases and Supreme court justices orders. There is a very high probability due
to case 17-5578 that Harvard University was involved in the forgery of U.S. District
Court of Eastern District of Louisiana cases 16-15001, 18-911, and of U.S. District
Court of Western District of Texas Case A18-1021-RP. The forgery of Judge Robert
Pitman’s order on 6/18/2019 becomes obvious when the order does not acknowledge
the case though the plaintiffs’ listing or within the body of the order the case was
filed EX REL USA. Consistent with all previously filed EX REL Cases by Vicki
McLean the original filing filed by Vicki McLean Pro Se was altered to remove all

13
Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 50 of 54

information to protect the Federal Reserve Shareholders and all universities involved

in the forgery of all previously filed Vicki McLean, ET AL EX REL USA, Pro Se.

Respectfully submitted Pro Se
for the U.S. Citizens and Plaintiffs
Pro Se, June 25, 2019

FLA heed.

Vicki Fanning McLean, Pro SE

7203 Oakwood Glen Blvd Apt. 80414
Spring, Texas 77379

832-610-1059
Vickimclean54@yahoo.com

Certificate of Service

I, Vicki McLean certify I will deliver this Affidavit of Service filed in Vicki
McLean, ET AL EX REL USA VS Mexico, Country of, ET AL CASE A18-5091-
RP to the U.S. Attorney General Office care of the U.S. Attorney General William
Barr at 950 Pennsylvania Avenue, NW, Washington D.C. 20530-0001 by way of
USPS certified return receipt under USPS tracking number 7018 0680 0001 0268
4953.

Respectfully submitted, Pro Se June 25, 2019

Udi hick

Vicki Fanning McLean, Pro SE
7203 Oakwood Glen Blvd Apt. 804
Spring, Texas 77379

832-610-1059
VickimcleanS4@yahoo.com

14
Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 51 of 54

Affidavit of Service Case A18-CV-5091-RP

Certified Return Receipt 7018 0680 0001 0268 4946
with
USPS TRACKING History for 7018 0680 0001 0268 4946

15
Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 52 of 54

Affidavit of Service Case A18-GV=5094-RP

Certified Return Receipt 7018 0680 0001 0268 4946
with
USPS TRACKING History for 7018 0680 0001 0268 4946

15
Case 1:19-cv-03312-CKK Document 1-8 Filed 11/04/19 Page 53 of 54

USPS Tra ckin g° FAQs > (ttps/wr.uaps.con/tega/uapetracking-aqs.hin

Track Another Package +

Remove X

Tracking Number: 701806800001 02684946

Your item was delivered at 4:54 am on June 17, 2019 in WASHINGTON, DC 20530.

Y Delivered
June 17, 2019 at 4:54 am
Delivered o
WASHINGTON, DC 20530 3.
. ©
Get Updates \v 2
Vv
Text & Email Updates
”~

Tracking History

June 17, 2019, 4:64 am
Delivered

WASHINGTON, DC 20530
Your item was delivered at 4:54 am on June 17, 2019 in WASHINGTON, DC 20530.

June 14, 2019, 11:52 am
Available for Pickup
WASHINGTON, DC 20530

Case 1:19-cv-03312-CKK Document 1-8

June 14, 2019, 9:22 am
Arrived. at Unit
WASHINGTON, DC 20018

Filed 11/04/19

Page 54 of 54

June 14, 2019, 5:42 am
Arrived at USPS Facility
WASHINGTON, DC 20022

June 13, 2019, 10:18 am
Arrived at USPS Regional Facility
WASHINGTON DC DISTRIBUTION CENTER

June 13, 2019, 8:09 am
Departed USPS Regional Facility
’ DULLES VA DISTRIBUTION CENTER

June 12, 2019, 11:00 pm
Arrived at USPS Regional Facility
DULLES VA DISTRIBUTION CENTER

June 12, 2019
In Transit to Next Facility

June 11, 2019, 4:55 pm
Arrived at USPS Regional Origin Facility
NORTH HOUSTON TX DISTRIBUTION CENTER

June 11, 2019, 1:33 pm
USPS in possession of item
SPRING, TX 77379

yoeqpee,

Product Information

